      Michael D. Bohannon, PLLC                                             Honorable Marc L. Barreca
 1    WSBA #14274                                                                          Chapter 7
      19586 10th Avenue NE, Suite 300
 2    PO Box 2326
 3    Poulsbo, WA 98370
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 5
                            UNITED STATES BANKRUPTCY COURT
 6                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
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 9
10    IN RE:
                                                                NO. 14-11682-MLB
11    HAROLD A. COVINGTON,
12                                    Debtor.
      ________________________________________
13    WILLIAM W. WILLIAMS,
14                                                              ADVERSARY
                                               Plaintiff,       CASE NO.
15    vs.
                                                                COMPLAINT TO DETERMINE
16    HAROLD A. COVINGTON,                                      DISCHARGEABILITY OF DEBT

17                                         Defendant.
18
               COMES NOW William W. Williams (“Williams”), and for his Complaint to Determine
19
      Dischargeabilty of Debt, alleges as follows:
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                                   I. JURISDICTION AND VENUE
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               1.1   This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§§
22
      151, 157 and 1334 and 11 U.S.C. §523. Venue is proper in this Court pursuant to 28
23
      U.S.C. §1409(a). This is an action to declare Harold A. Covington’s (“Covington”) debt to
24
      Williams nondischargeable under the applicable subparagraphs of 11 U.S.C. §523(a) and
25
      as such, is a core proceeding pursuant to 28 U.S.C. §157.
26
      COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT -1     19586 10TH AVENUE NE, STE. 300, POULSBO, WA 98370
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 1                                             II. PARTIES

 2           2.1     Williams is a married man residing in Johnson County, Tennessee, and is a

 3    creditor in this Chapter 7 proceeding.

 4           2.2     Covington is a single man residing in Kitsap County, Washington, and is

 5    the Debtor in this Chapter 7 proceeding.

 6                                             III. FACTS

 7           3.1     Covington filed his petition for relief under Chapter 7 of Title 11 U.S.C. on

 8    March 7, 2014.

 9           3.2     Williams is a creditor of Covington by virtue of a Final Monetary Judgment

10    entered on April 28, 1998 (the “Judgment”), entered against Covington, in that certain

11    case entitled William W. Williams v. Harold A. Covington in the General Court of Justice,

12    District Court Division for Wake County, North Carolina, Case No. 96 CVD 11027 (the

13    “Court Case”). A true and correct copy of the Judgment is attached hereto as Exhibit A

14    and incorporated herein by reference. The Judgment was entered in connection with the

15    Summary Judgment dated October 3, 1997 entered in the Court Case (the “Summary

16    Judgment”). A true and correct copy of the Summary Judgment is attached hereto as

17    Exhibit B and incorporated herein by reference.

18           3.3     On February 8, 2013, an amended judgment was entered in favor of

19    Williams against Covington in the General Court of Justice, District Court Division for

20    Wake County, North Carolina (the “Amended Judgment”). The Amended Judgment

21    represents a new order on the Judgment entered in the Court Case, as permitted by the

22    laws of North Carolina. A true and correct copy of the Amended Judgment is attached

23    hereto as Exhibit C and incorporated herein by reference.

24           3.4     On October 4, 2013, a Judgment Summary re Amended Foreign Judgment

25    (the “Judgment Summary”) was filed in Thurston County Superior Court, Case No. 05-2-

26    02190-7, pursuant to Washington’s Uniform Enforcement of Foreign Judgments Act, RCW

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 1    6.36, et. seq. A true and correct copy of the Judgment Summary is attached hereto as

 2    Exhibit D and incorporated herein by reference. As set forth in the Judgment Summary,

 3    the expiration of the Amended Judgment is February 8, 2023.

 4           3.5     As set forth in the Judgment, Covington “has and continues to intentionally

 5    publish false and libelous defamation about [Williams], in direct violation of the injunction

 6    issued against [Covington].” The Court in the Court Case therefore entered judgment in

 7    favor of Williams and against Covington for compensatory damages in the amount of

 8    $10,088, and for punitive damages in the amount of $100,000.

 9           3.6     Between January 1993 and August 1996, Covington published certain false

10    and defamatory statements regarding Williams. In October 1996, Williams filed his

11    Complaint (the “Complaint”) in the Court Case. A true and correct copy of the Complaint is

12    attached hereto as Exhibit E and incorporated herein by reference.

13           3.7     As set forth in the Complaint, the statements published by Covington were

14    false and defamatory, published with actual malice and without privilege, and resulted in

15    injury and damage to Williams and his reputation.

16                      IV. CAUSE OF ACTION PURSUANT TO 11 U.S.C. §523(a)(6)

17           4.1     Williams realleges all allegations contained in the preceding paragraphs.

18           4.2     As alleged above, Covington willfully and maliciously caused injury to
19    Williams. To wit, Covington repeatedly published false and defamatory statements
20    regarding Williams, which statements were made with actual malice and without privilege,
21    and resulted in actual damage to Williams. Covington’s acts constitute willful and
22    malicious injury by a debtor to another entity or to the property of another entity.
23
             4.3     As a proximate result of Covington’s false and defamatory statements,
24
      Williams sustained damage and loss of reputation. Covington’s monetary obligations to
25
      Williams as set forth in the Judgment, Amended Judgment and Judgment Summary
26
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 1    (collectively, the “Judgments”) are not subject to discharge under 11 U.S.C. §523(a)(6).

 2                                     V. RELIEF REQUESTED
 3
             WHEREFORE, Williams prays for the following relief:
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             5.1     That the Court enter a judgment in favor of Williams and against Covington
 5
      based on the Judgments and in the amounts set forth therein, plus interest accruing
 6
      thereon as provided in the Judgments;
 7
             5.2     That the Court declare the Judgments nondischargeable obligations of
 8
      Covington to Williams pursuant to 11 U.S.C. § 523(a)(6);
 9
10           5.3     That the Court award Williams his reasonable attorney’s fees and costs

11 incurred herein; and
12           5.4     That the Court grant Williams such other and further relief as the Court
13 deems just and proper under the circumstances.
14           DATED this 30th day of April, 2014.

15                                         MICHAEL D. BOHANNON, PLLC
16
                                           /s/ Michael D. Bohannon
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                                           Michael D. Bohannon, WSBA #14274
18                                         Attorney for William W. Williams

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